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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ESTELLA WALKER, RAY ROBINSON,                                 )
RAY ROBINSON, JR., GEORGE GRAHAM,                             )
AND CORNELIUS BURNS,                                          )
                                                              )      No. 2012-CV-1422
                       Plaintiffs,                            )
                                                              )
               v.                                             )
                                                              )
THE CITY OF CHICAGO, OFFICERS SERGIO                          )
MARTINEZ, STAR NO. 19512, DAVID GUZMAN,                       )
STAR NO. 12877, WILLIAM MURPHY, STAR NO.                      )
6066, DANIEL O’TOOLE, STAR NO. 15346,                         )
MARK GUTKOWSKI, STAR NO. 16228, SCOTT                         )
McKENNA, STAR NO. 3942, TAMARA                                )
MATTHEWS, STAR NO. 4640, TIMOTHY                              )
SCHUMPP, STAR NO. 9207, LAWRENCE STEC,                        )
STAR NO. 1980,                                                )
                                                              )
                       Defendants.                            )

                                     AMENDED COMPLAINT

       NOW COMES the Plaintiffs, by and through their attorneys, the Moran Law Group, and

complains of the Defendants for violations of Plaintiff’s civil rights under the Constitution and

the laws of the United States. In support of this Complaint, Plaintiffs state as follows:


                                     NATURE OF THE CASE

       This is a civil action seeking damages against defendants for committing acts, under color

of law, which deprived plaintiffs of rights secured under the Constitution and the laws of the

United States. Defendants, while acting in their capacities as police officers in the City of

Chicago, County of Cook, State of Illinois, deprived plaintiffs of their liberty without due process



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of law, made an unreasonable search and seizure of the persons and property of plaintiffs, and

deprived plaintiffs of their property without due process of law, thereby depriving plaintiffs of

their rights, privileges and immunities as guaranteed by the Fourth and Fourteenth Amendments

to the Constitution of the United States.

                                         JURISDICTION


1.     This court has jurisdiction over this matter as it involves federal question jurisdiction

       pursuant to 28 U.S.C. § 1331, 1343(a)(1-4), conferring original jurisdiction on this court

       for any civil action to recover damages or to secure equitable relief under the

       Constitution, treaties, or any Act of Congress including those providing for the protection

       of civil rights, and jurisdiction pursuant to 42 U.S.C. § 1983. The Court has

       supplemental jurisdiction over the state law claims pled in this complaint pursuant to 28

       U.S.C. § 1367.

                                              VENUE

2.     Venue is proper in the Northern District of Illinois pursuant to 28 U.S.C. §1391,

       as all events described herein took place in the Northern Judicial District and all parties

       reside, or are located within the Northern Judicial District of Illinois.

                                              FACTS

3.     Plaintiffs Estella Walker, her husband, Ray Robinson, his son Ray Robinson, Jr., George

       Graham and Cornelius Burns are citizens and residents of the State of Illinois and citizens

       of the United States.

4.     Defendant City of Chicago is an Illinois Municipal Corporation located within the



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       Northern District of Illinois.

5.     Officer Sergio Martinez (Badge Number 19512) was at all times material to this

       Complaint a duly appointed Chicago Police Officer assigned to Unit 189, Area 2 of the

       Chicago Police Department. At all times material to this Complaint, defendant acted

       toward plaintiffs under color of the statutes, ordinances, customs, and usage of the State

       of Illinois, City of Chicago, and the Chicago Police Department.

6.     Officer David Guzman (Badge Number 12877) was at all times material to this

       Complaint a duly appointed Chicago Police Officer assigned to Unit 189, Area 2 of the

       Chicago Police Department. At all times material to this Complaint, defendant acted

       toward plaintiffs under color of the statutes, ordinances, customs, and usage of the State

       of Illinois, City of Chicago, and the Chicago Police Department.

7.     Officer William Murphy (Badge Number 6066) was at all times material to this

       Complaint a duly appointed Chicago Police Officer assigned to Unit 189, Area 2 of the

       Chicago Police Department. At all times material to this Complaint, defendant acted

       toward plaintiffs under color of the statutes, ordinances, customs, and usage of the State

       of Illinois, City of Chicago, and the Chicago Police Department.

8.     Officer Daniel O’Toole (Badge Number 15346) was at all times material to this

       Complaint a duly appointed Chicago Police Officer assigned to Unit 189, Area 2 of the

       Chicago Police Department. At all times material to this Complaint, defendant acted

       toward plaintiffs under color of the statutes, ordinances, customs, and usage of the State

       of Illinois, City of Chicago, and the Chicago Police Department.

9.     Officer Mark Gutkowski (Badge Number 16228) was at all times material to this


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        Complaint a duly appointed Chicago Police Officer assigned to Unit 189, Area 2 of the

        Chicago Police Department. At all times material to this Complaint, defendant acted

        toward plaintiffs under color of the statutes, ordinances, customs, and usage of the State

        of Illinois, City of Chicago, and the Chicago Police Department.

10.     Officer Scott McKenna (Badge Number 3942) was at all times material to this Complaint

        a duly appointed Chicago Police Officer assigned to Unit 189, Area 2 of the Chicago

        Police Department. At all times material to this Complaint, defendant acted toward

        plaintiffs under color of the statutes, ordinances, customs, and usage of the State of

        Illinois, City of Chicago, and the Chicago Police Department.

11.     Officer Tamara Matthews (Badge Number 4640) was at all times material to this

        Complaint a duly appointed Chicago Police Officer assigned to Unit 189, Area 2 of the

        Chicago Police Department. At all times material to this Complaint, defendant acted

        toward plaintiffs under color of the statutes, ordinances, customs, and usage of the State

        of Illinois, City of Chicago, and the Chicago Police Department.

12.     Officer Timothy Schumpp (Badge Number 9207) was at all times material to this

        Complaint a duly appointed Chicago Police Officer assigned to Unit 189, Area 2 of the

        Chicago Police Department. At all times material to this Complaint, defendant acted

        toward plaintiffs under color of the statutes, ordinances, customs, and usage of the State

        of Illinois, City of Chicago, and the Chicago Police Department.

13.     Sergeant Lawrence Stec (Badge Number 1980) was at all times material to this Complaint

        a duly appointed Chicago Police Officer assigned to Unit 189, Area 2 of the Chicago

        Police Department. At all times material to this Complaint, defendant acted toward


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        plaintiffs under color of the statutes, ordinances, customs, and usage of the State of

        Illinois, City of Chicago, and the Chicago Police Department.

14.     Plaintiff sues all defendants in their individual capacities.

15.     On March 2, 2011, plaintiffs Ray Robinson, his son Ray Robinson, Jr., and a friend,

        George Graham, were lawfully abiding at Robinson and Estella Walker’s first floor

        apartment at 1021 West 61st Street, Chicago, Illinois.

16.     Unbeknownst to Plaintiffs, earlier that same day, the Chicago Police Department obtained

        a search warrant to search for an individual named “Mike” a male black, 30 years of age,

        6'00" in height, and 230 pounds and the first floor apartment at 1021 W. 61st Street,

        Chicago, Illinois, to look for contraband, particularly for “crack cocaine.” (A true and

        correct copy of the search warrant, left with the plaintiffs, is attached hereto as EXHIBIT

        A).

17.     Ms. Walker had rented the first floor apartment on February 1, 2011 from the owner of

        the building, Cornelius Burns, who resided on the second floor. The building was a two-

        flat. (A true and accurate copy of the lease between Estelle Walker and Cornelius Burns

        is attached hereto as EXHIBIT B).

18.     The first floor unit had been vacant for approximately one year and Mr. Burns had

        remodeled it during that time.

19.     Ms. Walker and her husband were both over the age of 50 on March 2, 2011. Ray

        Robinson, Jr., was 24 and George Graham was 39.

20.     At or about 1:25 p.m. on March 2, 2011, the plaintiffs Robinson Sr., Robinson Junior,

        and George Graham were watching television. They heard several cars outside screech to


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        a halt and looked out and saw three (3) unmarked cars in front and two (2) in back of the

        building. Seconds later, seven to eight police officers in plainclothes and one in uniform

        crashed through two hall doors with a slam bar.

21.     The officers came in with guns drawn, were wearing plainclothes, and had no identifying

        information or badges displayed.

22.     The officers immediately yelled to the plaintiffs to get on the ground. The police were

        yelling obscenities and all police officers had drawn guns, including a shotgun and at

        least one automatic rifle.

23.     The officers were verbally and physically abusive, actually striking the plaintiffs on

        several occasions, while plaintiffs offered no resistance whatsoever.

24.     Plaintiffs were never asked for identification by any of the officers.

25.     Ray Robinson Sr. has diabetes and walks with a cane. Ray Robinson Sr., Ray Robinson

        Jr., and George Graham, who was recuperating from a stroke were handcuffed and

        assaulted. The officers repeatedly yelled “where are the drugs?,” while striking plaintiffs.

26.     Ray Robinson, Jr. was slapped by multiple defendants and strip searched by a Latino

        police officer who did not identify himself.

27.     Another officer stomped on George Graham’s head and right wrist while cuffed and on

        lying on the floor.

28.     Claiming that they had been watching the apartment, the other officers went through the

        apartment, conducting a full search of the first floor premises.

29.     While entering the apartment one of the officer’s claimed to have heard a gun go off and

        repeatedly demanded the gun. None of the plaintiff’s own a gun and no gun or other


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        contraband was found whatsoever.

30.     The officers asked for the plaintiffs’ identification which was given.

31.     The apparent leader of the police was a short, white, chubby officer wearing a white shirt,

        with blondish hair. This individual appeared to get more and more agitated as the

        officers, tearing through the apartment, had found no contraband or any gun. He yelled

        he was going to “burn” someone.

32.     After about an hour of entering and searching through every conceivable hiding place,

        including drawers, closets, and appliances, a sergeant came into the first floor apartment,

        walked around, and while leaving, stated (apparently to the other officers): “You fucked

        up another one.”

33.     The officers destroyed the apartment, doing, but not limited to, the following acts:

        a)     threw the television off its stand;

        b)     took multiple DVD’s belonging to plaintiffs;

        c)     stole or tore up Plaintiffs’ “Link” cards;

        d)     threw food from the pantry and refrigerator around the apartment;

        e)     the same Latino officer that strip searched Ray Robinson Jr., actually urinated on
               the plaintiffs’ mail;

        f)     broke the washer and the air conditioner;

        g)     tore up books and clothes;

        h)     threatened to charge George Graham with bank robbery;

        i)     told George Graham “you’ve been Punked”:

        j)     threw a music system on the floor of the apartment;



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        k)     tore the pipes to the hot water heater off the wall;

        l)     tore the hot water heater off the wall;

        m)     dumped the contents of every drawer in the unit on the ground;

        n)     dumped the contents of the refrigerator on the ground;

        o)     tore up photographs in a funeral memorial book, and tore up photographs in an
               album;

        p)     spit into the plaintiffs’ coffee maker;

        r)     took George Graham’s keys and threw them across the street.

34.     No guns, drugs or contraband were found in the apartment on the first floor and plaintiffs

        did not resist, interfere or impede the defendants in any way.

35.     The first floor plaintiffs were cuffed throughout the search.

36.     No names were displayed on any badges, nor was any identification of individual officers

        made to any plaintiff.

37.     The defendants never showed the plaintiffs a search or arrest warrant. They left a copy of

        the warrant on the floor on their way out of the premises around 3:00 p.m. (See Exhibit

        A).

38.     The defendants also went up to the second floor apartment where the landlord, plaintiff

        Cornelius Burns, resided. He was not home.

39.     The officers broke through two closed and locked doors, causing serious damage, entered

        his apartment and searched it.

40.     The officers behaved in a similar manner and thoroughly defiled and damaged Burns’

        apartment.



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41.     No drugs or contraband were found in the Burns’ second floor apartment.

42.     The police had no warrant for, no exigent circumstances and no probable cause on which

        to justify entry into the second floor apartment of Cornelius Burns.

43.     Burns, an employee of the United States Department of Labor, was not home, but arrived

        home shortly after the police left his apartment in shambles as the plaintiffs on the first

        floor called him at work.

44.     When Plaintiff Burns arrived, the police were gone. They had destroyed his personal

        belongings, trashed his apartment, and ruined appliances.

45.     The police left a copy of the same search warrant on the floor of plaintiff Burns’

        apartment. (Please see Exhibit A).

46.     The City of Chicago has failed to adequately train, supervise, or control the individual

        police officers named within this complaint resulting in the injury and damages alleged

        herein.

47.     Defendant police officers had final decision making authority on whether to enter and

        search plaintiffs’ property and persons, arrest and physically assault plaintiffs on behalf of

        the City of Chicago.

48.     Defendant officers exercised their authority in searching plaintiffs’ property and person,

        as well as in arresting and detaining plaintiffs despite knowing or willfully ignoring the

        fact that plaintiffs were not guilty of any violation of law, that there was no probable

        cause and no exigent circumstances existing on which to enter, search, arrest and assault

        plaintiffs. No charges were ever filed against any plaintiffs and no contraband was

        recovered.


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                             COUNT I
VIOLATION OF CORNELIUS BURNS’ FOURTH AND FOURTEENTH AMENDMENT
     RIGHT TO BE FREE FROM UNREASONABLE SEARCH AND SEIZURE

49.     Plaintiffs restate and reincorporate paragraphs 1-48 as if set forth in full here.

50.     After finding no contraband on the first floor of the apartment building, Defendants

        forcibly entered into and physically damaged plaintiff’s residence and personal property

        on the second floor without a search warrant, probable cause and absent any exigent

        circumstances, on or about March 2, 2011.

51.     Neither the Chicago Police Department or its officers had any right to intrude into the

        privacy and security of plaintiff's apartment and persons located therein on or about

        March 2, 2011, or at any other time, without a valid warrant or probable cause, and absent

        any exigent circumstances.

52.     Defendants’ illegal search and abuse of plaintiffs premises, committed intentionally,

        either with malice or without malice, deprived plaintiff of his right to be free of

        unreasonable searches and seizures as guaranteed by the Fourth and Fourteenth

        Amendments to the Constitution of the United States and protected under 42 U.S.C. §

        1983.

        WHEREFORE, plaintiff Cornelius Burns demands judgment against defendants City of

Chicago and the named Chicago Police Officers, jointly and severally, for compensatory

damages in an amount capable of making plaintiff whole, and further demands judgment against

each of said defendants, jointly and severally, for punitive damages, plus the costs of this action,

and such other relief as this Court deems just, proper and equitable.




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                            COUNT II
  VIOLATION OF ESTELLA WALKER AND RAY ROBINSON SR.’S FOURTH AND
   FOURTEENTH AMENDMENT RIGHT TO BE FREE FROM UNREASONABLE
                       SEARCH AND SEIZURE

53.     Plaintiffs restate and reincorporate paragraphs 1-48 as if set forth in full here.

54.     Defendants forcibly entered into and physically damaged plaintiffs first floor residence

        and personal property without probable cause, absent any exigent circumstances and

        without a valid warrant on or about March 2, 2011.

55.     Neither the Chicago Police Department or its officers had any right to intrude into the

        privacy and security of plaintiffs’ apartment and persons located therein on or about

        March 2, 2011, or at any other time, without a valid warrant or probable cause, and absent

        any exigent circumstances.

56.     Defendants’ illegal search and abuse of plaintiffs, their guests, and plaintiffs’ premises,

        committed intentionally, either with malice or without malice, deprived plaintiffs of their

        right to be free of unreasonable searches and seizures as guaranteed by the Fourth and

        Fourteenth Amendments to the Constitution of the United States and protected under 42

        U.S.C. § 1983.

        WHEREFORE, plaintiffs Estella Walker and Ray Robinson Sr., demand judgment

against defendants City of Chicago and the named Chicago Police Officers, jointly and severally,

for compensatory damages in an amount capable of making plaintiffs whole, and further

demands judgment against each of said defendants, jointly and severally, for punitive damages,

plus the costs of this action, and such other relief as this Court deems just, proper and equitable.




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                              COUNT III
        VIOLATION OF RAY ROBINSON JR.’S FOURTH AND FOURTEENTH
      AMENDMENT RIGHT TO BE FREE FROM UNREASONABLE SEARCH AND
                               SEIZURE.

57.     Plaintiff restates and reincorporates paragraphs 1-48 as if set forth in full here.

58.     Defendants conducted a strip search of plaintiff without a valid search warrant, probable

        cause and absent any exigent circumstances, on or about March 2, 2011.

59.     Neither the Chicago Police Department or its officers had any right to intrude into the

        privacy and security of plaintiff’s physical person on or about March 2, 2011, or at any

        other time, without a valid warrant or probable cause, and absent any exigent

        circumstances.

60.     Defendants’ illegal search and abuse of plaintiff, committed intentionally, either with

        malice or without malice, deprived plaintiff of his right to be free of unreasonable

        searches and seizures as guaranteed by the Fourth and Fourteenth Amendments to the

        Constitution of the United States and protected under 42 U.S.C. § 1983.

        WHEREFORE, plaintiff Ray Robinson Jr., demands judgment against defendants City of

Chicago and the named Chicago Police Officers, jointly and severally, for compensatory

damages in an amount capable of making plaintiff whole, and further demands judgment against

each of said defendants, jointly and severally, for punitive damages, plus the costs of this action,

and such other relief as this Court deems just, proper and equitable.




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                                 COUNT IV
      VIOLATION RAY ROBINSON JR.’S FIFTH AND FOURTEENTH AMENDMENT
               RIGHT TO EQUAL PROTECTION AND DUE PROCESS

61.     Plaintiff restates and reincorporates paragraphs 1-48 as if set forth in full here.

62.     During the course of defendants strip search of plaintiff, multiple defendants slapped and

        hit plaintiff, plaintiff then being in custody, unarmed, and unable to resist defendants.

63.     At all times that the police were in the first floor apartment, Ray Robinson Jr., did not

        refuse to obey any lawful police orders.

64.     Defendant was physically injured as well as humiliated and emotionally scarred by

        defendants’ attack.

65.     As a result of their concerted unlawful and malicious physical abuse of plaintiff,

        defendants intentionally, or with deliberate indifference and callous disregard of

        plaintiff’s rights, deprived plaintiff of his right to equal protection of the laws and

        impeded the due course of justice, in violation of the Fifth and Fourteenth Amendments

        of the Constitution of the United States and 42 U.S.C. § 1983.

        WHEREFORE, plaintiff Ray Robinson Jr., demands judgment against defendants City of

Chicago and the named Chicago Police Officers, jointly and severally, for compensatory

damages in an amount capable of making plaintiff whole, and further demands judgment against

each of said defendants, jointly and severally, for punitive damages, plus the costs of this action,

and such other relief as this Court deems just, proper and equitable.

                               COUNT V
      VIOLATION GEORGE GRAHAM’S FIFTH AND FOURTEENTH AMENDMENT
              RIGHT TO EQUAL PROTECTION AND DUE PROCESS

66.     Plaintiff restates and reincorporates paragraphs 1-48 as if set forth in full here.


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67.     During the course of defendants search, multiple defendants hit plaintiff, plaintiff then

        being in custody, unarmed, and unable to resist defendants.

68.     Defendant officer John Doe also stomped on plaintiff’s wrist, fracturing it and causing

        plaintiff to seek medical attention later that day.

69.     At all times that the police were in the first floor apartment, George Graham did not

        refuse to obey any lawful police orders.

70.     Defendant was physically injured as well as humiliated and emotionally scarred by

        defendants’ attack.

71.     As a result of their concerted unlawful and malicious physical abuse of plaintiff,

        defendants intentionally, or with deliberate indifference and callous disregard of

        plaintiff’s rights, deprived plaintiff of his right to equal protection of the laws and

        impeded the due course of justice, in violation of the Fifth and Fourteenth Amendments

        of the Constitution of the United States and 42 U.S.C. § 1983.

        WHEREFORE, plaintiff George Graham demands judgment against defendants City of

Chicago and Chicago Police Officers, jointly and severally, for compensatory damages in an

amount capable of making plaintiff whole, and further demands judgment against each of said

defendants, jointly and severally, for punitive damages, plus the costs of this action, and such

other relief as this Court deems just, proper and equitable.

                                  COUNT VI
                 INDEMNIFICATION PURSUANT TO 745 ILCS §10/9-102

72.     Plaintiff restates and reincorporates paragraphs 1-48 as if set forth in full here.

73.     At all times relevant to this Complaint, Defendant Officers Sergio Martinez, David



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        Guzman, William Murphy, Daniel O’Toole, Mark Gutkowski, Scott McKenna, Tamara

        Matthews, Timothy Schumpp and Lawrence Stec were acting in their official capacities

        as police officers of the Chicago Police Department, and under the direction and control

        of Area 2 and Unit 189 supervisors and Defendant City of Chicago.

74.     The City of Chicago is liable to pay any damages based on the actions of the individual

        Defendants by virtue of 745 ILCS § 10/9-102.

        WHEREFORE, plaintiffs demand judgment against Defendant officers’ supervisors and

defendant City of Chicago, jointly and severally, for compensatory damages in an amount

capable of making plaintiff whole, and further demands judgment against each of said defendants

(except the City of Chicago), jointly and severally, for punitive damages, plus the costs of this

action, and such other relief as this Court deems just, proper and equitable.

                                  DEMAND FOR A JURY TRIAL

        Pursuant to Federal Rule of Civil Procedure 38(b), the Plaintiff demands a trial by jury on

all issues so triable in this matter.



                                                       Respectfully submitted,

                                                       By: /s/ Matthew T. Layman
                                                           Attorney for the Plaintiff



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